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 5   Attorney for Defendant, EDGAR BARRAGAN
 6

 7
                               UNITED STATES DISTRICT COURT
 8
                              EASTERN DISTRICT OF CALIFORNIA
 9

10

11   UNITED STATES OF AMERICA,                  )     No. CRF 05-0204 OWW
                                                )
12                      Plaintiff,              )
                                                )     SUBSTITUTION OF
13        v.                                    )     ATTORNEYS
                                                )
14   EDGAR BARRAGAN,                            )
                                                )
15                      Defendant.              )
                                                )
16                                              )
17

18   DAVID V. BALAKIAN, 455 West Shaw Avenue, Fresno, California

19   93704, (559) 495-1558, hereby substitutes in place and stead of

20             JIM ELIA, ESQ.              , as attorney of record, in the above

21   entitled matter.
22
          I AGREE TO THIS SUBSTITUTION.
23
     DATED: 6/29/05                             /s/ DAVID BALAKIAN
24
                                                DAVID BALAKIAN
25   //

26   //
          I AGREE TO THIS SUBSTITUTION.
27
     DATED: 7/5/05                              /s/ EDGAR BARRAGAN
28                                              EDGAR BARRAGAN
         Case 1:05-cr-00204-AWI Document 59 Filed 07/11/05 Page 2 of 2



 1
       I AGREE TO THIS SUBSTITUTION.
 2
     DATED: 7/6/05                        /s/ JIM T. ELIA
 3                                        JIM T. ELIA
 4

 5   I AGREE TO THIS SUBSTITUTION.

 6   DATED:       July 8, 2005            /s/ OLIVER W. WANGER
                                          HONORABLE OLIVER W. WANGER
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